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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES

 Date: November 16, 2023         Time: 11:00 a.m. – 1:55 p.m.
                                                           Judge: YVONNE
                                                           GONZALEZ ROGERS
 Case No.: 22-md-03047-          Case Name: IN RE: SOCIAL MEDIA ADOLESCENT
                                 ADDICTION/PERSONAL INJURY PRODUCTS
 YGR
                                 LIABILITY LITIGATION


Attorneys for Plaintiffs: See Attached
Attorneys for Defendants: See Attached

 Deputy Clerk: Ki'i Kealalio-Puli                     Court Reporter: Pamela Hebel

                                       PROCEEDINGS

Further Case Management Conference – HELD

A Further Case Management Conference has been set on December 13, 2023 at 10:30 a.m. The
Parties shall submit a joint Statement no later than December 6, 2023, to include an outline of
any issues which they anticipate raising at the Case Management Conference and in relation to
which they request guidance or a ruling by the Court.

The Court further sets an Additional Dismissal Briefing schedule, organized into the following
four tracks: 1) the state Attorneys General complaint, as well as Claims 7, 8 and 9 of the
individual plaintiffs’ Master Amended Complaint (“MAC”); 2) the remaining MAC claims, with
the exception of the individual plaintiffs’ negligence per se claim; 3) the forthcoming school
district plaintiffs’ master complaint; and 4) claims asserted against defendant Mark Zuckerberg
in his individual capacity.

           •   Briefing Schedule for Tracks 1 & 2
                   o Motion to Dismiss: December 18, 2023
                   o Opposition Brief: February 5, 2024
                   o Reply Brief: February 26, 2024

           •   Briefing Schedule for Track 3
                   o Master Complaint due by December 18, 2023
                   o Motion to Dismiss: February 5, 2024
                   o Opposition Brief: March 4, 2024
                   o Reply Brief: March 25, 2024
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           •   Briefing Schedule for Track 4
                  o Motion to Dismiss: December 18, 2023
                  o Opposition Brief: January 16, 2024
                  o Reply Brief: January 23, 2024

Page limits for the above referenced briefing schedule and the process for seeking adjustments to
such limits will be set forth in a written order.

The Court heard argument from attorneys present at the Case Management Conference who
wished to be considered for plaintiffs’ leadership roles and explained that applications from
additional counsel for appointment would be accepted through Friday, November 17, 2023 at
12:00 p.m. Pacific time.

The Court heard argument from parties regarding the development of plaintiffs’ fact sheets for
the personal injury actions and an implementation order for such fact sheets. Parties also raised
issues regarding discovery and the issuance of a coordination order.

The Court clarified that the discovery stay is VACATED and discovery is now open. The Court
directed parties to raise disputes relating thereto with Magistrate Judge Kang. The Court also
ORDERED parties, including the state Attorneys General plaintiffs, to meet and confer
regarding the development of plaintiffs’ fact sheets and a proposed form of implementation
order, as well as regarding the issuance of a mutually agreeable coordination order. Parties are
ORDERED to provide updates regarding such discussions in the joint Statement to be filed no
later than December 6, 2023.

The Court also sets Further Case Management Statements for the following dates and times:

           •   January 26, 2024 at 2:30 p.m.
           •   February 23, 2024 at 2:30 p.m.
           •   March 22, 2024 at 2:30 p.m.

Written order to follow.
